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                                                         7
                                                         8                       UNITED STATES DISTRICT COURT
  LLP
                   300 SOUTH GRAND AVENUE, SUITE 1300




                                                         9        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                      LOS ANGELES, CALIFORNIA 90071
HURRELL CANTRALL
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                                                        10
                                                        11 KENNETH EARL MOORE,                      CASE NO. 2:19-cv-08946-DSF(JPRx)
                                                        12              Plaintiff,                  [Assigned to Judge Dale S. Fischer,
                                                                                                    Courtroom “7D”]
                                                        13        v.
                                                                                                    DEFENDANTS SERGEANT INDIA
                                                        14 CERRITOS, DEPUTY SHERIFF, LOS            INEZ AND DEPUTY JESSE
                                                           ANGELES COUNTY SHERIFF                   CERRITOS’ JOINT MOTION TO
                                                        15 DEPARTMENT, and INEZ,                    DISMISS FOR FAILURE TO
                                                           SERGEANT, LOS ANGELES                    PROSECUTE; MEMORANDUM OF
                                                        16 COUNTY SHERIFF DEPARTMENT,               POINTS AND AUTHORITIES;
                                                                                                    [PROPOSED] ORDER
                                                        17              Defendants.
                                                                                                    Filed Concurrently With:
                                                        18                                             1. Declaration of Diane Martinez,
                                                                                                          Esq.
                                                        19
                                                                                                    DATE: July 12, 2021
                                                        20                                          TIME: 1:30 a.m.
                                                                                                    DEPT.: “7D”
                                                        21
                                                                                                    Action Filed:   10/17/19
                                                        22                                          FAC Filed:      01/13/20
                                                                                                    SAC Filed:      10/26/20
                                                        23                                          TAC Filed:      02/07/21
                                                        24
                                                        25 TO THE HONORABLE COURT, ALL PARTIES, AND THEIR ATTORNEYS:
                                                        26       PLEASE TAKE NOTICE THAT on July 12, 2021 at 1:30 p.m., or as soon
                                                        27 thereafter as this matter may be heard, in Courtroom “7D” of the above-entitled
                                                        28 Court, defendants SERGEANT INDIA INEZ (“Sergeant Inez”) and DEPUTY
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                                                         1 JESSE CERRITOS (“Deputy Cerritos”) (collectively, “Defendants”) will move this
                                                         2 Court for an Order granting their Joint Motion to Dismiss for Failure to Prosecute,
                                                         3 pursuant to Federal Rules of Civil Procedure, Rule 41(b).
                                                         4        Defendants bring the Motion for Failure to Prosecute on the grounds that
                                                         5 Plaintiff’s counsel has failed to comply with the initial disclosure requirement set
                                                         6 forth in Federal Rules of Civil Procedure, Rule 26(f). Furthermore, Defendants
                                                         7 bring this motion on the grounds that Plaintiff’s counsel has failed to prosecute this
                                                         8 action, namely, by failing produce his client for deposition and unreasonably
                                                         9 delaying litigation of this matter.
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                                                        10        This motion is made following Defendants’ attempt to meet and confer with
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                                                        11 Plaintiff’s counsel pursuant to Local Rule 7-3. (See Declaration of Diane Martinez
                                                        12 in Support of Defendant’s Motion to Dismiss, ¶¶ 3-6.)
                                                        13        This motion will be based upon this Notice, the attached Memorandum of
                                                        14 Points and Authorities filed concurrently herewith, the Declaration of Diane
                                                        15 Martinez, Esq. and all exhibits, papers, pleadings and documents contained on file,
                                                        16 all matters upon which the Court may take judicial notice, and upon all further oral
                                                        17 and documentary evidence as may be presented at the time of the hearing on this
                                                        18 motion.
                                                        19
                                                        20 DATED: June 1, 2021                   HURRELL CANTRALL LLP
                                                        21
                                                        22
                                                                                                 By: /s/ Neda Mohammadzadeh
                                                        23
                                                                                                     THOMAS C. HURRELL
                                                        24                                           NEDA MOHAMMADZADEH
                                                                                                     Attorneys for Defendant, SERGEANT
                                                        25
                                                                                                     INEZ
                                                        26
                                                        27
                                                        28

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                                                         1                MEMORANDUM OF POINTS AND AUTHORITIES
                                                         2 I.      INTRODUCTION.
                                                         3         This matter arises out of the alleged sexual assault of plaintiff KENNETH
                                                         4 EARL MOORE (“Plaintiff”) by Defendant DEPUTY JESSE CERRITOS (“Deputy
                                                         5 Cerritos”) while she1 was homeless, on parole and working as a prostitute in the area
                                                         6 of Downtown Los Angeles. Plaintiff alleges that in early September of 2018,
                                                         7 Deputy Cerritos, while dressed in a Los Angeles County Sheriff’s Department
                                                         8 (“LASD”) uniform, arrested her and forced her to perform oral sex on him while he
                                                         9 held a gun to her head. Thereafter, on September 19, 2018, Plaintiff was taken into
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                                                        10 custody and ultimately reported the alleged out-of-custody sexual assault by Deputy
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                                                        11 Cerritos. As a result, Plaintiff was to participate in a sexual assault video interview
                                                        12 to be conducted by Defendant SERGEANT INDIA INEZ (“Sergeant Inez”).
                                                        13 Plaintiff alleges that during this interview, Sergeant Inez verbally harassed her and
                                                        14 threatened her with physical violence if Plaintiff elected to pursue her sexual assault
                                                        15 claim against Deputy Cerritos, and threatened to deny her a sexual assault recorded
                                                        16 interview despite the fact that she was in fact afforded a sexual assault recorded
                                                        17 interview that same day. Plaintiff further alleges that after she filed a grievance on
                                                        18 October 12, 2018, Sergeant Inez threatened her with physical violence and removal
                                                        19 from her classified transgender housing dorm (dorm 9500) into a mental health
                                                        20 dorm (dorm 9300). On October 30, 2018 – after she was transferred to the mental-
                                                        21 health dorm – Plaintiff alleges that she was attacked by an inmate/patient at the
                                                        22 behest of Sergeant Inez. Moreover, Plaintiff alleges that Sergeant Inez (1) prevented
                                                        23 her grievances from going through to the grievance coordinator for processing; and
                                                        24 (2) denied her access to the court, the legal mailing system, and the law library.
                                                        25
                                                             1
                                                        26   Plaintiff identifies as a transgender female (see, e.g., Plaintiff’s Second Amended
                                                           Complaint at ¶¶ 13, 27). Accordingly, feminine pronouns will be used when
                                                        27
                                                           referring to her throughout this Motion.
                                                        28

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                                                         1        As set forth in her Third Amended Complaint (“TAC”), Plaintiff alleges the
                                                         2 following causes of action: (1) Sexual Battery in violation of California Civil Code §
                                                         3 1708.5 against Deputy Cerritos; (2) Retaliation in violation of the First Amendment
                                                         4 pursuant to 42 U.S.C. § 1983 against Defendants; (3) False Arrest in violation of the
                                                         5 Fourth Amendment pursuant to 42 U.S.C. § 1983 against Deputy Cerritos; and (4)
                                                         6 Cruel and Unusual Punishment in violation of the Eighth Amendment and
                                                         7 Fourteenth Amendment against Defendants.
                                                         8 II.    PROCEDURAL HISTORY.
                                                         9        A.     Procedural History as it Relates to the Pleadings
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                                                        10        Plaintiff filed the instant action, proceeding pro se, in the U.S. District Court
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                                                        11 for the Central District of California on October 17, 2019, naming Sheriff Alex
                                                        12 Villanueva (“Sheriff Villanueva”), Deputy Cerritos, and Sergeant Inez as
                                                        13 defendants. (See Dkt. No. 1.) Based on a numerous shortcomings and deficiencies,
                                                        14 the Court issued an Order dismissing Plaintiff’s Complaint on December 12, 2019,
                                                        15 but granted Plaintiff leave to amend in order to cure these deficiencies. (See Dkt.
                                                        16 No. 10.) Thereafter, on January 20, 2020, Plaintiff, still proceeding pro se, filed her
                                                        17 First Amended Complaint (“FAC”), naming Sheriff Villanueva, Deputy Cerritos,
                                                        18 and Sergeant Inez as defendants. (See Dkt. No. 14.) Because Plaintiff’s third claim
                                                        19 against Sheriff Villanueva still suffered from the same defects as those identified in
                                                        20 the December 12, 2019 screening Order (Dkt. No. 10), the Court dismissed Sheriff
                                                        21 Villanueva from this lawsuit with prejudice. (See Dkt. No. 15.)
                                                        22        On July 30, 2020, Keith Altman, Esq. substituted in as counsel of record for
                                                        23 Plaintiff. (See Dkt. No. 27.) Pursuant to a stipulation entered by the parties,
                                                        24 Plaintiff filed her Second Amended Complaint (“SAC”) with the Court on October
                                                        25 26, 2020. (See Dkt. No. 35.) On November 30, 2020, Sergeant Inez filed her
                                                        26 Motion to Dismiss and Motion to Strike Plaintiff’s SAC as it pertains to the
                                                        27 allegations against her. (See Dkt. No. 37.) On January 15, 2021, the Court issued
                                                        28 its ruling granting in part and denying in part Sergeant Inez’s motion with leave to

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                                                         1 amend. (See Dkt. No. 49.) Thereafter, on February 7, 2021, Plaintiff filed her Third
                                                         2 Amended Complaint (“TAC”) with the Court against Defendants Sergeant Inez and
                                                         3 Deputy Cerritos. (See Dkt. No. 50.)
                                                         4        B.     Procedural History as it Relates to Litigation of This Matter.
                                                         5        On December 2, 2020, this Court issued its Order Setting Scheduling
                                                         6 Conference for January 11, 2021. (See Dkt. No. 40.) In light of the Scheduling
                                                         7 Conference date set by this Court, the parties were to participate in the Rule 26
                                                         8 Conference of Counsel no later than December 21, 2021, as required by Federal
                                                         9 Rules of Civil Procedure, Rule 26(f). On December 2, 2020, counsel for Sergeant
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                                                        10 Inez, Diane Martinez, Esq., sent an e-mail to all counsel advising of this deadline
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                                                        11 and her availability, and requested that they each provide their availability in order
                                                        12 to schedule a time to conduct the Rule 26 Conference of Counsel. (See Declaration
                                                        13 of Diane Martinez (“Martinez Decl.”), ¶ 7.)
                                                        14        On December 16, 2020, the parties appeared via telephone for the Rule 26
                                                        15 Conference of Counsel. (See Martinez Decl., ¶ 8.) As discussed and agreed to by
                                                        16 all parties at the Rule 26 Conference of Counsel, and later set forth in the Joint Rule
                                                        17 26 Report filed by Plaintiff, initial disclosures were to be served no later than
                                                        18 December 30, 2020. (See Dkt. No. 44; See also Martinez Decl., ¶ 9.) Accordingly,
                                                        19 on December 29, 2020, counsel for Sergeant Inez served all parties, via mail and e-
                                                        20 mail, with its initial disclosures on behalf of Sergeant Inez. (See Martinez Decl., ¶
                                                        21 10.)
                                                        22        On December 29, 2020, counsel for Sergeant Inez also circulated a draft
                                                        23 version of the Rule 26 Joint Report along with the Court’s Schedule of Pretrial and
                                                        24 Trial Dates (“Exhibit A”) to all counsel via e-mail. (See Martinez Decl., ¶ 11.) On
                                                        25 December 30, 2020, counsel for Deputy Cerritos circulated her revisions and
                                                        26 changes to the Rule 26 Joint Report via e-mail. (See Martinez Decl., ¶ 12.) Due to
                                                        27 his busy schedule, Plaintiff’s counsel requested additional time to make his changes
                                                        28 and revisions to the Joint Report. (See Martinez Decl., ¶ 13.) Nevertheless, on

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                                                         1 January 4, 2021, Plaintiff provided his changes and revision to the report, and
                                                         2 thereafter filed the report with the court. (See Martinez Decl., ¶ 13.)
                                                         3         On January 14, 2021, Counsel for Deputy Cerritos served her initial
                                                         4 disclosures on behalf of Deputy Cerritos. (See Martinez Decl., ¶ 14.) Thereafter, on
                                                         5 January 15, 2021, after noticing that she did not have Plaintiff’s initial disclosures,
                                                         6 Counsel for Deputy Cerritos e-mailed Plaintiff’s counsel inquiring about its
                                                         7 whereabouts. (See Martinez Decl., ¶ 15.) Plaintiff’s counsel responded and advised
                                                         8 that he would required a few extra days, and that he would serve the initial
                                                         9 disclosures by Monday (January 18, 2021). (See Martinez Decl., ¶ 16.) After still
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                                                        10 not having received Plaintiff’s initial disclosures, counsel for Sergeant Inez e-mailed
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                                                        11 Plaintiff’s counsel on January 19, 2021 requesting an update on the status of
                                                        12 Plaintiff’s initial disclosures, and also requested that he provide dates in the month
                                                        13 of February for Plaintiff’s deposition. (See Martinez Decl., ¶ 17.) After not hearing
                                                        14 from Plaintiff’s counsel, counsel for Sergeant Inez sent a follow-up e-mail on
                                                        15 January 27, 2021 inquiring as to the status of Plaintiff’s initial disclosures and dates
                                                        16 for Plaintiff’s deposition.    (See Martinez Decl., ¶ 18.)      On February 3, 2021,
                                                        17 Plaintiff’s counsel responded and advised that he would provide “a response in the
                                                        18 next couple of days” and “see about depo dates.” (See Martinez Decl., ¶ 19.)
                                                        19         Again, on February 16, 2021, counsel for Deputy Cerritos e-mailed Plaintiff’s
                                                        20 counsel and asked about the status of his initial disclosures, but received no
                                                        21 response. (See Martinez Decl., ¶ 20.) Thereafter, on March 9, 2021, counsel for
                                                        22 Deputy Cerritos e-mailed Plaintiff’s counsel again following up on the status of his
                                                        23 initial disclosures and requesting dates for Plaintiff’s deposition. (See Martinez
                                                        24 Decl., ¶ 21.) Again, after not hearing from Plaintiff’s counsel, counsel for Deputy
                                                        25 Cerritos sent a follow-up e-mail to Plaintiff’s counsel on March 11, 2021 asking for
                                                        26 a status update. (See Martinez Decl., ¶ 22.) That same day, Plaintiff’s counsel
                                                        27 finally responded and advised that he was unable to make contact with his client.
                                                        28 (See Martinez Decl., ¶ 23.)

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                                                         1        Despite the fact that Plaintiff’s counsel was unable to locate his client, on
                                                         2 March 19, 2021, counsel for Sergeant Inez served Plaintiff’s counsel, via mail and e-
                                                         3 mail, with a Notice of Deposition of Plaintiff’s deposition for April 27, 2021. (See
                                                         4 Martinez Decl., ¶ 24.)      After the Notice of Deposition was served, Plaintiff’s
                                                         5 counsel e-mailed that same day and stated that he was still unable to make contact
                                                         6 with his client, and confirmed that his client was not in custody. (See Martinez
                                                         7 Decl., ¶ 25.) Counsel for Sergeant Inez suggested that the deposition remain on
                                                         8 calendar for April 27, 2021 while he attempted to locate his client. (See Martinez
                                                         9 Decl., ¶ 25.) However, Plaintiff’s counsel then advised that April 27, 2021 would
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                                                        10 not work due to a schedule conflict. (See Martinez Decl., ¶ 25.) As a result, on
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                                                        11 March 24, 2021, counsel for Sergeant Inez responded and requested that Plaintiff’s
                                                        12 counsel provide alternative dates that worked with his schedule in order to schedule
                                                        13 Plaintiff’s deposition, and asked Plaintiff’s counsel if he was successful in locating
                                                        14 his client.   (See Martinez Decl., ¶ 26.)       After not receiving a response from
                                                        15 Plaintiff’s counsel, counsel for Deputy Cerritos sent a follow-up e-email on April
                                                        16 14, 2021. (See Martinez Decl., ¶ 27.) Plaintiff’s counsel finally responded that
                                                        17 same day advising that he was still unable to make contact with his client. (See
                                                        18 Martinez Decl., ¶ 28.)
                                                        19        To date, Plaintiff’s counsel has not (1) served his initial disclosures; (2)
                                                        20 advised whether he was able to locate his client; or (3) provided alternative dates for
                                                        21 Plaintiff’s deposition. (See Martinez Decl., ¶ 29.)
                                                        22 III.   LEGAL STANDARD.
                                                        23        Federal Rules of Civil Procedure, Rule 41(b), provides that a defendant may
                                                        24 move for dismissal of the action or of any claim against the defendant “for failure of
                                                        25 the plaintiff to prosecute” the action or to comply with the Federal Rules of Civil
                                                        26 Procedure or any order of the court. FRCP 41(b); See also Hearns v. San
                                                        27 Bernardino Police Dept., 530 F.3d 1124, 1129 (9th Cir. 1993). Either the entire
                                                        28 action or only claims against the moving defendant may be so dismissed. FRCP

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                                                         1 41(b). Although analyzed under similar standards, there are three distinct grounds
                                                         2 for involuntary dismissal under Rule 41(b) – failure to prosecute, failure to comply
                                                         3 with the Federal Rules of Civil Procedure, and failure to comply with court orders.
                                                         4 FRCP 41(b). With respect to a motion to dismiss for failure to prosecute under Rule
                                                         5 41(b), the court has inherent power to dismiss sua sponte for delay in prosecution in
                                                         6 order to “achieve the orderly and expeditious disposition of cases.”           Olivia v.
                                                         7 Sullivan, 958 F.2d 272, 273 (9th Cir. 1992).
                                                         8 IV.     THE COURT SHOULD GRANT DEFENDANTS’ MOTION TO
                                                         9         DISMISS THIS ACTION WITH PREJUDICE FOR PLAINTIFF’S
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                                                        10         FAILURE TO PROSECUTE THIS ACTION.
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                                                        11         Rule 41(b) provides for dismissal of an action or of any claims for plaintiff’s
                                                        12 failure to prosecute the action. Anderson v. Air West, Inc., 542 F.2d 522, 525 (9th
                                                        13 Cir. 1976).     The courts have read Rule 41(b) to require federal actions to be
                                                        14 prosecuted with “reasonable diligence” in order to avoid dismissal. Id. at 524.
                                                        15 Because a presumption of prejudice arises from plaintiff’s unexplained failure to
                                                        16 prosecute, Plaintiff has the initial burden of showing a nonfrivolous explanation for
                                                        17 the delay. Laurino v. Syringa Gen. Hosp., 279 F.3d 750, 753 (9th Cir. 2002). If
                                                        18 plaintiff provides a nonfrivolous excuse, the burden shifts to the defendant to
                                                        19 produce evidence of prejudice from the delay. Nealey v. Transportation Maritima
                                                        20 Mexicana, S.A., 662 F.2d 1275, 1281 (9th Cir. 1980). If such prejudice is shown,
                                                        21 the burden shifts back to plaintiff to show that the force of its excuse outweighs any
                                                        22 prejudice to defendant. Id. Before dismissing an action with prejudice, a court must
                                                        23 weigh several factors: (1) the public's interest in expeditious resolution of litigation;
                                                        24 (2) the court's need to manage its docket; (3) the risk of prejudice to the defendants;
                                                        25 (4) the public policy favoring disposition of cases on their merits; and (5) the
                                                        26 availability of less drastic sanctions.” Dahl v. City of Huntington Beach, 84 F.3d
                                                        27 363, 366 (9th Cir. 1996). The length of time the case has been pending is an
                                                        28 important factor, and where the case is “young,” stronger grounds for dismissal must

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                                                         1 be shown. Laurino, supra, 279 F.3d 750, 753. Also, the length of delay is a crucial
                                                         2 consideration in ruling on a motion to dismiss, and the court may consider the entire
                                                         3 procedural history of the case, including any delays attributable to the nonmoving
                                                         4 party. Link v. Wabash R.R. Co. (1962) 370 U.S. 626, 635. Nevertheless, the Ninth
                                                         5 Circuit has consistently held that the failure to prosecute diligently is sufficient by
                                                         6 itself to justify a dismissal, even in the absence of a showing of actual prejudice to
                                                         7 the defendant from the failure. See also Morris v. Morgan Stanley & Co., 942 F.2d
                                                         8 648, 651 (9th Cir. 1991). Anderson, supra, 542 F.2d at 525. Rather the law
                                                         9 presumes injury from unreasonable delay. States S. S. Co. v. Philippines Air Lines,
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                                                        10 426 F.2d 803, 804 (9th Cir. 1970).
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                                                        11        In the instant action, Plaintiff’s counsel has caused unreasonable delay simply
                                                        12 by either failing to respond to emails sent by opposing counsel, or responding days,
                                                        13 sometimes weeks, later. Plaintiff’s counsel’s lack of attention to litigating this
                                                        14 matter has resulted in delays spanning over months. Furthermore, and perhaps most
                                                        15 importantly, Plaintiff has gone missing and cannot be located by her own attorney.
                                                        16 As evidenced by the numerous e-mail exchanges, both counsel for Sergeant Inez
                                                        17 and counsel for Deputy Cerritos have sought to notice Plaintiff’s depositions.
                                                        18 However, Plaintiff’s counsel has admitted numerous times that he is unable to make
                                                        19 contact with his client, expressing concerns for her safety and well-being.
                                                        20        Given that Plaintiff is a homeless transient with an admitted substance abuse
                                                        21 problem, it is clear that Plaintiff’s absence will continue to be a problem even if
                                                        22 located at some point in the future. However, her current absence has resulted in
                                                        23 Defendants being unable to litigate this action, namely, by taking her deposition,
                                                        24 having her submit to an Independent Medical Examination (“IME”) for a
                                                        25 psychological evaluation, or propounding written discovery.
                                                        26        Apart from Plaintiff’s absence, delays attributable to Plaintiff’s counsel have
                                                        27 also prevented Defendants from litigating this action in a timely manner.           As
                                                        28 previously mentioned, Plaintiff’s counsel first appeared as counsel of record on July

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                                                         1 30, 2020. To date, no discovery has been conducted due to Plaintiff’s counsel’s
                                                         2 delays in responding to e-mails sent by opposing counsel relating to Plaintiff’s
                                                         3 initial disclosures and dates for Plaintiff’s deposition. Assuming arguendo that part
                                                         4 of the delay is attributed to amending the pleadings, there is no excuse for Plaintiff’s
                                                         5 counsel’s failure in responding to numerous e-mails sent by opposing counsel
                                                         6 requesting an update as to status of Plaintiff’s initial disclosures, which were to be
                                                         7 served no later than December 30, 2020 – nearly five months ago. (See Martinez
                                                         8 Decl., ¶ 17.) Similarly, no excuse can be made for Plaintiff’s counsel’s failure in
                                                         9 responding to various e-mails sent by opposing counsel requesting dates for
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                                                        10 Plaintiff’s deposition, which was first attempted by counsel for Sergeant Inez on
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                                                        11 January 19, 2021 – nearly five (5) months ago.           (See Martinez Decl., ¶ 17.)
                                                        12 Plaintiff’s counsel’s inability to locate his client and communicate with the parties in
                                                        13 a timely manner so as to ensure the expeditious litigation of this matter has severely
                                                        14 hindered Defendants’ ability to litigate this action. This matter has been pending
                                                        15 before the Court since October 17, 2019 (See Dkt. No. 1.). Although Plaintiff was
                                                        16 initially pro se, what is concerning is that the parties have not engaged in any form
                                                        17 of discovery, largely due to the above-outlined delays, since July 30, 2020 – the day
                                                        18 Plaintiff’s counsel substituted in as Plaintiff’s attorney of record. Accordingly,
                                                        19 Defendants’ respectfully request that this action be dismissed with prejudice for
                                                        20 Plaintiff’s failure to prosecute.
                                                        21 V.      THIS COURT SHOULD GRANT DEFENDANTS’ MOTION TO
                                                        22         DISMISS WITH PREJUDICE FOR PLAINTIFF’S FAILURE TO
                                                        23         COMPLY WITH THE FEDERAL RULES OF CIVIL PROCEDURE.
                                                        24         Involuntary dismissal with prejudice under Rule 41(b) may also be ordered
                                                        25 where a party fails to comply with the Federal Rules of Civil Procedure. FRCP Rule
                                                        26 41(b); See also Hearns, supra, 530 F.3d at 1129. As set forth in Federal Rules of
                                                        27 Civil Procedure, Rule 26, the parties are to make initial disclosures without awaiting
                                                        28 a discovery request. FRCP 26(a)(1). Unless an objection is made or a different time

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                                                         1 is set by stipulation or court order, the initial disclosures are due within 14 days after
                                                         2 the Rule 26(f) Early Conference of Counsel. FRCP 26(a)(1)(C).
                                                         3         In the instant action, dismissal of Plaintiff’s action with prejudice is warranted
                                                         4 for Plaintiff’s counsel’s failure to comply with the initial disclosure requirements set
                                                         5 forth in the Federal Rules of Civil Procedure. As set forth above, the parties
                                                         6 conducted the Rule 26 Conference of Counsel on December 16, 2021. During this
                                                         7 conference, the parties agreed to make initial disclosures per code, thereby requiring
                                                         8 initial disclosures to be made no later than December 30, 2020. On December 29,
                                                         9 2020, counsel for Sergeant Inez served her initial disclosures on behalf of Sergeant
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                                                        10 Inez. Thereafter, on January 14, 2021, counsel for Deputy Cerritos served her initial
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                                                        11 disclosures on behalf of Deputy Cerritos. However, to date, Plaintiff’s counsel has
                                                        12 not served initial disclosures on behalf of Plaintiff.
                                                        13         On January 15, 2021, the first attempt was made to reach out to Plaintiff’s
                                                        14 counsel to inquire as to the whereabouts of Plaintiff’s initial disclosures. Thereafter,
                                                        15 as evidence by the e-mails attached in support of this motion, countless attempts by
                                                        16 both counsel for Sergeant Inez and counsel for Deputy Cerritos were made in order
                                                        17 to obtain Plaintiff’s initial disclosures. Now, nearly 5 months after they were due,
                                                        18 Plaintiff’s counsel has still failed to serve Defendants with Plaintiff’s initial
                                                        19 disclosures. Plaintiff’s failure to comply with the initial disclosure requirements of
                                                        20 the Federal Rules of Civil Procedure has prevented Defendants from ascertaining
                                                        21 the identity of Plaintiff’s key witnesses and any documents that may support
                                                        22 Plaintiff’s allegations. Furthermore, Plaintiff’s counsel’s delay in serving Plaintiff’s
                                                        23 initial disclosures has prevented the parties from conducting any form of discovery,
                                                        24 namely deposing Plaintiff’s identified witnesses and propounding written discovery.
                                                        25 As such, Plaintiff’s action should be dismissed with prejudice for Plaintiff’s failure
                                                        26 to comply with the Federal Rules of Civil Procedure.
                                                        27 VI.     CONCLUSION.
                                                        28         Based on the forgoing, Defendants respectfully request that this Court grant

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                                                         1 their Joint Motion to Dismiss for Failure to Prosecute under Federal Rules of Civil
                                                         2 Procedure, Rule 41(b).
                                                         3
                                                             DATED: June 1, 2021              HURRELL CANTRALL LLP
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                                                         5
                                                         6                                    By: /s/ Neda Mohammadzadeh
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